19 F.3d 1431
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ronald A. WILSON, Plaintiff Appellant,v.Sewall B. SMITH, Warden, Maryland Correctional AdjustmentCenter, Defendant and Appellee.
    No. 94-6170.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 17, 1994.Decided April 7, 1994.
    
      Ronald A. Wilson, appellant pro se.
      Audrey J.S. Carrion, Office of the Attorney General of Maryland, Baltimore, MD, for appellee.
      D.Md.
      AFFIRMED.
      Before PHILLIPS and LUTTIG, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Wilson v. Smith, No. CA-93-1839-L (D. Md. Jan. 28, 1994).*  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    
      
        *
         We note that the court's denial of Wilson's motion for a temporary restraining order is not appealable.   Virginia v. Tenneco, Inc., 538 F.2d 1026, 1029-30 (4th Cir.1976)
      
    
    